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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS

 KEURIG GREEN MOUNTAIN, INC.


              Plaintiff,
 v.                                            CIVIL ACTION NO.: 1:16-CV-10142-
                                               DJC
 TOUCH COFFEE & BEVERAGES,
 LLC,


              Defendant.


             JOINT STIPULATION OF VOLUNTARY DISMISSAL

      Pursuant to the parties’ settlement agreement in the above-captioned action

and to Fed. R. Civ. P. 41(a)(1)(A)(ii) and (c), IT IS HEREBY STIPULATED AND

AGREED by and between Plaintiff Keurig Green Mountain, Inc. and Defendant

Touch Coffee & Beverages, LLC that each and every claim and counterclaim in the

above-captioned action is, and shall be, voluntarily dismissed, with prejudice, and

without costs, expenses, or fees (including attorneys’ fees) to either party, and that

the United States District Court for the District of Massachusetts shall retain

jurisdiction for the enforcement of the parties’ settlement agreement.
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Date: January 28, 2017


Respectfully submitted,                          Respectfully submitted,

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                                                 Counsel for Touch Coffee & Beverages,
                                                 LLC




                               CERTIFICATE OF SERVICE

       I certify that I served the foregoing on counsel of record through the Court's ECF system.

Date: January 28, 2018


                                                    /s/ Brendan M. Shortell
